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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       Case No:
                                             :
               v.                            :       VIOLATION:
                                             :
KHALIL GRAY WRIGHT,                          :       18 U.S.C. § 1344
                                             :       (Bank Fraud)
               Defendant.                    :
                                             :       FILED UNDER SEAL


                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Joshua Huckel, being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a criminal Complaint charging KHALIL

GRAY WRIGHT (“WRIGHT”) with Bank Fraud, in violation of 18 U.S.C. § 1344. I respectfully

submit that the Affidavit establishes probable cause to believe that WRIGHT participated in a

scheme to defraud Wells Fargo. I request that the Court issue an arrest warrant for WRIGHT,

pursuant to Federal Rule of Criminal Procedure 4(a).

                                BACKGROUND OF AFFIANT

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), United States

Department of Justice, and have been so employed since February 2010. As a Special Agent with

the FBI, I am authorized to investigate crimes involving violations of federal law. I am assigned to

a white collar crime squad at the Northern Virginia Resident Agency of the Washington Field

Office, in Manassas, Virginia. I have participated in numerous criminal investigations to include

violations related to wire fraud, conspiracy, money laundering, and other related federal violations

of Title 18 of the United States Code. I have training and experience in the enforcement of the laws



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of the United States, including the preparation and presentation of affidavits in support of criminal

complaints.

       3.      The facts and information contained in this Affidavit are based on my personal

knowledge and observations, information provided to me by others involved in the investigation,

and a review of documents and records. This Affidavit does not contain each and every fact known

to the government. It contains only those facts necessary to support a finding of probable cause for

a Complaint. The dates listed in the Affidavit should be read as “on or about” dates.

                            SUMMARY OF THE INVESTIGATION

       4.      The FBI has been investigating a scheme to defraud Wells Fargo. Wells Fargo is a

financial institution within the meaning of 18 U.S.C. § 20. Wells Fargo’s deposits are insured by

the Federal Deposit Insurance Corporation.

       5.      The scheme involves individuals opening accounts at Wells Fargo and individuals

then depositing checks through Wells Fargo ATMs into the recently opened Wells Fargo accounts.

None of the deposited checks were honored by the issuing bank.

       6.      While making these deposits, the individuals placed their fingers on the ATM check

scanner so that the ATMs were unable to read the checks. The act of placing one’s fingers over the

ATM scanner created a “jam.” In this context, a jam means that the check image cannot be read by

the ATM.

       7.      The jam caused the ATMs to prompt the individuals making the sham deposits to

manually enter the amount of the checks. Funds were often credited to the accounts before Wells

Fargo discovered the fraud. Participants in the scheme took advantage of this lag time by spending

or transferring the credited funds.




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               STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

                              Wright’s Participation in the Scheme

       8.      WRIGHT participated in the scheme by creating jams in Wells Fargo ATMs.

WRIGHT created the jams by first inserting a check into an ATM and then placing his fingers

inside the slot on the ATM where the scanner reads the information contained on the check. By

virtue of creating a jam, the ATM prompted WRIGHT to manually input, or key in, a deposit

amount for the check.

       9.      The checks WRIGHT deposited were ultimately dishonored by the issuing bank.

However, in some cases, any hold that Wells Fargo placed on the deposited checks expired before

Wells Fargo discovered the fraud. Once the hold expired, Wells Fargo credited the accounts for

the manually entered deposit amounts. The lag time between the crediting of the accounts and the

discovery of the fraud caused artificially inflated balances in the accounts.

       10.     The account holders, or others associated with the account, took advantage of this

lag time by conducting or attempting to conduct (or causing others to conduct or attempt to conduct)

financial transactions to access the inflated balances. The types of transactions conducted included

Venmo transfers, checks drawn from the accounts, debit card transactions, and ATM withdrawals.

For example, funds credited to accounts from WRIGHT’s sham check deposits were used to transfer

funds through Square, withdraw cash from ATMs, and make point-of-sale purchases at retailers

such as Walmart and Safeway.

       11.     WRIGHT used Wells Fargo ATMs to deposit fraudulent checks totaling

approximately $115,000 into various Wells Fargo accounts. None of these accounts were in

WRIGHT’s name. In fact, WRIGHT does not maintain an account at Wells Fargo. The account

holders, or someone acting on their behalf, successfully conducted approximately $26,000 in



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financial transactions with the credited funds before Wells Fargo discovered the fraud.

                               Wright’s Execution of the Scheme

       12.     The following table provides information about 11 ATM transactions in which

WRIGHT executed the scheme, as described above, by depositing a check, jamming the ATM, and

then manually inputting a deposit amount. Wells Fargo credited some of these false deposits to

the accounts before it discovered the fraud. Two of the 11 sham deposits occurred in Washington,

D.C.

                       Account          Date of
 Account     Account   Opening          Fraudulent       Deposit
 Holder      Ending    Date             Deposit          Amount           Location of Deposit
 DC          2134      2/26/2018        3/8/2018         $9,426           District Heights, MD
 NH          8998      1/18/2018        3/13/2018        $9,400           District Heights, MD
 LJ          2836      3/19/2018        3/21/2018        $12,842          Washington, D.C.
 AF          4796      3/26/2018        3/26/2018        $9,456           Washington, D.C.
 BF          3982      3/19/2018        3/28/2018        $12,745          Woodbridge, VA
 DE          7454      3/27/2018        3/28/2018        $12,846          Woodbridge, VA
 RH          1390      3/7/2018         3/28/2018        $8,986           Woodbridge, VA
 DD          1195      4/9/2018         4/9/2018         $8,764           Richmond, VA
 TJ          9637      3/22/2018        4/9/2018         $9,387           Richmond, VA
 IV          7820      4/2/2018         4/16/2018        $11,782          Richmond, VA
 JF          8685      4/20/2018        4/23/2018        $9,962           Wilmington, DE
                                        TOTAL            $115,596

       13.     To illustrate, in the above table, on March 7, 2018, R.H. opened Wells Fargo account

number x1390 with a $25 opening deposit. On March 28, 2018, WRIGHT deposited a check into

account number x1390 at a Wells Fargo ATM located in Woodbridge, Virginia. WRIGHT caused

a jam in the ATM while making the fraudulent deposit. WRIGHT then manually entered $8,986

as the deposit amount of the check. On March 28, 2018, Wells Fargo credited $8,986 to account

number x1390. The deposited check was ultimately dishonored by the issuing bank. On April 5,

2018, Wells Fargo reversed the $8,986 credit. However, between March 28, 2018, and April 5,

2018, approximately $6,400 was spent from Wells Fargo account number x1390.                 These


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expenditures included two Zelle transfers totaling $1,100 to a Bank of America account number

x2686 maintained in WRIGHT’s name. There were also purchases made at Saks Fifth Avenue and

Uptown Haulers locations in Washington, D.C.

                                                 Identification

        14.      I have reviewed Wells Fargo surveillance photographs that depict the individual

making each of the above-referenced deposits. Based on this review, I believe that the same person

initiated all of the deposits. I have compared the pictures associated with these 11 deposits to

WRIGHT’s Maryland driver’s license photograph. WRIGHT appears to be the individual making

all of the above-referenced deposits.

        15.      In March 2018, WRIGHT was arrested by a Maryland State Trooper for a traffic

warrant issued by Prince George’s County, Maryland. I showed surveillance photographs for five

of the deposits referenced in the table in Paragraph 12 to the Maryland State Trooper who arrested

WRIGHT.1 The Maryland State Trooper confirmed that WRIGHT was the individual in all of the

photographs. Two of the pictures provided to the Maryland State Trooper depicted WRIGHT

creating jams in Wells Fargo ATMs located in Washington, D.C.

                                               CONCLUSION

        17. Based on the foregoing, your Affiant respectfully submits that probable cause exists to

believe that WRIGHT has committed Bank Fraud in violation of 18 U.S.C. § 1344. I respectfully

request that the Court issue an arrest warrant for WRIGHT.




        1
           These photographs represented WRIGHT’s ATM deposits on the following dates, as referenced in the
chart in Paragraph 12: (1) March 21, 2018, into account x2836; (2) March 26, 2018, into account x7456; (3) March
28, 2018, into account x7454; (4) March 28, 2018, into account x1390; and (5) April 9, 2018, into account x1195.

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      The statements above are true and accurate to the best of my knowledge and belief.




                                                         ________________________
                                                         Joshua Huckel
                                                         Special Agent
                                                         Federal Bureau of Investigation


SUBSCRIBED and SWORN to me this 14th day of March, 2019.


___________________________________________
Robin M. Meriweather
United States Magistrate Judge




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